                   Case 1:17-cv-00124-LLS Document 183 Filed 09/10/21 Page 1 of 2
QR IGNJfEe J                   1:17-cv-00124-LLS Document 182 Filed 09/09/21 Page 1 of 2

                                               United States of America
                                        FEDERAL TRADE COMMISSION
                                               Washington , DC 20580



  Division of Advertisi ng Practices
     Annette Soberats
  202-326-2921 ; asoberats@ftc. gov


                                                              September 9, 2021

       VIAECF
       Hon. Louis L. Stanton, U.S.D.J.
       United States District Court
       Southern District of New York
       500 Pearl Street
       New York, NY 10007

       RE:        FTC, et al. v. Quincy Bioscience Holding Co., Inc. , et al. (l 7-CV-00124-LLS)
                  Plaintiffs ' Request to Appear Telephonically at September 17, 2021 Pre-Motion
                  Conference

       Dear Judge Stanton:

                Plaintiffs, the Federal Trade Commission ("FTC") and the People of the State ofN  :
        York by Letitia James, Attorney General of the State of New York, respectfully request the ·
                                                                                                    w]
                                                                                                              r ~
                                                                                                            . s l.- ·
                                                                                                                     ~         ,



        Court' s leave to appear telephonically at the pre-motion conference set for September 17, 2021 l,-~ )~
        at 2:30 pm. Defendants intend to appear in person but do not oppose Plaintiffs ' request.         ')-t,~

                Due to the widespread resurgence of COVID-19, New York County has been designated             <\ l \o 11,, \
        by the Centers for Disease Control and Prevention as experiencing "high" levels of community
        transmission of the disease. Accordingly, counsel would strongly prefer to avoid travel and
        public interaction in the area if at all possible. In addition, we note that the attorney who has
        been designated to argue the FTC's position at the September 17 pre-motion conference would
        need to travel to New York from Washington, D.C. While counsel are mindful that the Court is
        observing masking and other preventative protocols, travel is a high-risk activity for transmission
        of the disease .

               In addition, the parties in this case have appeared telephonically in the past. In a prior
        telephonic status conference on December 14, 2020, the Court heard, among other things, oral
        argument on Defendants ' request for clarification and/or reconsideration as to the Court' s
        December 3, 2020 Order on the FTC's motion for a protective order. (Dkt. Nos. 149, 150). The
        telephonic medium did not present a hindrance for any of the parties.
            Case 1:17-cv-00124-LLS Document 183 Filed 09/10/21 Page 2 of 2
,.            Case 1:17-cv-00124-LLS Document 182 Filed 09/09/21 Page 2 of 2

     The Honorable Louis L. Stanton                                             September 9, 2021
     Page 2

            For these reasons, and in light of the recent COVID-19 resurgence, we respectfully
     request that the Court allow Plaintiffs to appear telephonically at the September 17 pre-motion
     conference.

                                               Respectfully,



     ls/Annette Soberats                                 Isl Kate Matuschak
     Annette Soberats                                    Kate Matuschak
     Attorney                                            Assistant Attorney General
     Federal Trade Commission                            New York Office of the Attorney General


     cc: All counsel of record (via ECF)
